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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEW JERSEY
                                   CAMDEN DIVISION

 SOCIAL POSITIONING INPUT
 SYSTEMS, LLC,                                       C.A. 2:21-CV-14595-RMB-MJS

                          Plaintiff,                 JURY TRIAL DEMANDED
     v.
                                                     PATENT CASE
 LABOR SYNC, LLC,

                          Defendant.

          JOINT STIPULATION AND ORDER OF DISMISSAL WITH PREJUDICE

          Plaintiff Social Positioning Input Systems, LLC, and Defendant Labor Sync, LLC, by their

respective undersigned counsel, hereby STIPULATE and AGREE as follows:

          1.     All claims asserted by the Plaintiff in this Action are dismissed with prejudice and

all counter-claims asserted by the Defendant in this Action are dismissed without prejudice under

Fed. R. Civ. P. 41(a)(1)(A)(ii);

          2.     Each party shall bear its own costs and attorneys’ fees with respect to the matters

dismissed hereby;

          This Stipulation and Order shall finally resolve the Action between the parties.




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Dated: October 29, 2021                              Respectfully Submitted,

                                                     /s/ Mark Aaron Kriegel (with permission)
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                                                     ATTORNEYS FOR DEFENDANT


                                CERTIFICATE OF SERVICE

        I hereby certify that on October 29, 2021, I electronically filed the above document(s) with
the Clerk of Court using CM/ECF which will send electronic notification of such filing(s) to all
registered counsel.
                                                     /s/ Michael T. Zoppo
                                                     Michael T. Zoppo



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SO ORDERED this _____ day of _______________, 2021.


                                      _______________________________________

                                      UNITED STATES DISTRICT JUDGE




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